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                      IN THE DISTRICT COURT OF THE UNITED STATES
                        FOR THE MIDDLE DISTRICT OF ALABAMA
                                  NORTHERN DIVISION


UNITED STATES OF AMERICA,

                         Plaintiff,

                 v.                                   MISC NGS2j.__j‘E'aa.ol                Lan

PILGRIM'S PRIDE CORP.,
GREELEY,COLORADO,

                        Garnishee,

CHAVITO,FERGUSON,

                        Defendant.


                                      WRIT OF GARNISHMENT

GREETINGS TO:           PILGRIM'S PRIDE CORP.
                        1770 PROMONTORY CIRCLE
                        GREELEY,CO 80634

       An Application for a Writ of Gamishment against the property of CHAVITO

FERGUSON, defendant, has been filed with this Court. A Judgment has been entered against

the above-named defendant in the amount of$72,837.81. The balance due on the Judgment as of

March 20, 2019 is $64,508.06.

       You are required by law to answer in writing, under oath, within ten (10) days, whether or

not you have in your custody, control or possession ofany property owned by the debtor, including

non-exempt, disposal earnings.

       Please state whether-or-not you anticipate paying the debtor any future payments and

whether such payments are weekly, bi-weekly or monthly.

       You must file the original written Answer to this Writ within ten (10) days of your
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receipt of this Writ with the United States District Clerk at: Clerk, U. S. District Court,

Middle District of Alabama,One Church Street, Suite B-110, Montgomery, Alabama 36104.

Additionally, you are required by law to serve a copy of your Answer upon the debtor at:

2856 Fairburn Road SW,Atlanta, Georgia 30331 and upon the United States Attorney,Post

Office Box 197, Montgomery, Alabama 36101.

       Under the law,there is property, which is exempt from this Writ of Garnishment. Property

which is exempt and which is not subject to this Order is listed on the attached Debt Collection

Notice.

       Pursuant to Title 15 U.S.C. §1674, a Garnishee is prohibited from discharging a defendant

from employment by reason ofthe fact that his earnings have been subject to garnishment.

       If you fail to answer this Writ or to withhold property in accordance with this Writ, the

United States of America may petition the Court for an Order requiring you to appear before the

Court. If you fail to appear or do appear and fail to show good cause why you failed to comply

with this Writ,the Court may enter a Judgment against you for the value ofthe debtor's non-exempt

property. It is unlawful to pay or deliver to the defendant any item attached by this Writ.

                                                    Debra P.gfackett

                                             UNITED STATES DIST            T CLERK
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                                                       915)11
